                         EXHIBIT B
Case 2-19-20905-PRW, Doc 2222-2, Filed 09/15/23, Entered 09/15/23 14:06:46,
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                                        10 E. Doty St., Suite 600
                                      Madison, Wisconsin 53703-3392
                                              608-286-2302
                                           www.BurnsBair.com


Official Committee of Unsecured Creditors of                               Issue Date :       3/17/2023
The Diocese of Rochester, New York                                               Bill # :        01075




Matter: Insurance

                             PROFESSIONAL SERVICES RENDERED


Date     Timekeeper       Narrative                                                   Hours    Amount
2/1/2023 Jesse Bair       Review correspondence from I. Scharf re Debtor Plan          0.10     $62.50
                          (.1);
2/1/2023   Timothy Burns Meet with L. Au re potential direct claims against the        2.40   $1,680.00
                          Diocese's insurers (.1); review correspondence from
                          state court counsel re meeting to discuss settlement
                          issues (.2); prepare for state court counsel meeting re
                          settlement issues (.8); meet with J. Bair re same (.2);
                          attend call (1.0); review email re mediator selection (.1);
2/1/2023   Leakhena Au Participate in conference with N. Kuenzi re changes to 0.40              $168.00
                          direct action claim approach and implementation of
                          same in draft memorandum (.4);
2/1/2023   Nathan Kuenzi Participate in conference with L. Au re changes to            0.40     $168.00
                          direct action claim approach and implementation of
                          same in draft memorandum (.4);
2/1/2023   Nathan Kuenzi Outline potential revisions to memorandum re potential 0.10             $42.00
                          direct claims against the Diocese's insurers (.1);
2/1/2023   Jesse Bair     Conference with T. Burns re insurance strategy in            0.30     $187.50
                          preparation for upcoming state court counsel call (.2);
                          draft insurance exposure summary in connection with
                          same (.1);
2/1/2023   Jesse Bair     Participate in portion of state court counsel meeting re 0.80         $500.00
                          settlement issues (.6); post-call analysis re potential
                          next steps (.2);
2/2/2023   Alyssa Turgeon Assist in revising memorandum re potential direct            2.00     $720.00
                          claims against the Diocese's insurers (2.0);
2/2/2023   Jesse Bair     Participate in conference with T. Burns re insurance         0.10      $62.50
                          strategy (.1);
2/2/2023   Timothy Burns Participate in conference with J. Bair re insurance           0.10      $70.00
                          strategy (.1);




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2/3/2023 Jesse Bair       Review information about potential stipulated judgment     0.40   $250.00
                          mediators (.2); correspondence with I. Scharf re joint
                          stipulation re stipulated judgment mediator (.1); review
                          Debtor email re potential stipulated judgment
                          mediators (.1);
2/3/2023   Alyssa Turgeon Continue assisting in revising memorandum re               1.00   $360.00
                          potential direct claims against the Diocese's insurers
                          (1.0);
2/3/2023   Timothy Burns Review example of joint stipulation re stipulated           0.20   $140.00
                          judgment mediator (.1); review correspondence with J.
                          Bair and I. Scharf re same (.1);
2/6/2023   Jesse Bair     Participate in internal BB team conference re case         0.10    $62.50
                          status and associated research projects (.1);
2/6/2023   Jesse Bair     Review I. Scharf correspondence to the Committee re        0.10    $62.50
                          case update (.1);
2/6/2023   Timothy Burns Participate in BB team meeting re case developments         0.10    $70.00
                          and related assignments (.1);
2/6/2023   Nathan Kuenzi Participate in team meeting re status of case and           0.10    $42.00
                          related assignments (.1);
2/6/2023   Leakhena Au Participate in BB team meeting re case developments           0.10    $42.00
                          and related assignments (.1);
2/6/2023   Alyssa Turgeon Participate in team meeting re status of case and          0.10    $36.00
                          related assignments (.1);
2/6/2023   Nathan Kuenzi Analyze revisions to memorandum re potential direct         0.60   $252.00
                          claims against the diocese's insurers (.3); supplemental
                          research re same (.3);
2/6/2023   Brian Cawley Participate in team meeting regarding case status and        0.10    $42.00
                          assignments (.1);
2/7/2023   Timothy Burns Analysis re potential Plan revisions (.1);                  0.10    $70.00
2/7/2023   Timothy Burns Review email from I. Scharf to state court counsel re       0.10    $70.00
                          state court counsel meeting (.1);
2/7/2023   Timothy Burns Review email from I. Scharf and meet with J. Bair re        0.10    $70.00
                          First State's offer (.1);
2/7/2023   Nathan Kuenzi Continue drafting revisions to memorandum re potential      0.60   $252.00
                          direct claims against the Diocese's insurers (.6);
2/7/2023   Jesse Bair     Analyze First State counter offer and assess potential     0.20   $125.00
                          response to same (.2);
2/7/2023   Jesse Bair     Correspondence with I. Scharf re the Diocese's draft       0.10    $62.50
                          Plan (.1);
2/8/2023   Jesse Bair     Review and assess insurance-related Plan edits             0.20   $125.00
                          suggested by state court counsel (.2);
2/8/2023   Jesse Bair     Correspondence with I. Scharf re potential response to     0.10    $62.50
                          First State counter (.1);
2/8/2023   Jesse Bair     Participate in conference with T. Burns re Plan-related    0.20   $125.00
                          issues (.1); participate in supplemental conference with
                          T. Burns re settlement procedures (.1);
2/8/2023   Jesse Bair     Participate in state court counsel meeting re ongoing      0.30   $187.50
                          case issues (.3);
2/8/2023   Timothy Burns Participate in state court counsel meeting re ongoing       0.30   $210.00
                          case issues (.3);
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2/8/2023 Timothy Burns Review email from state court counsel re settlement          0.50    $350.00
                        procedures (.1); meet with J. Bair re same (.1); review
                        email from PSZJ re same (.1); review emails between
                        BB and PSZJ re First State settlement offers and
                        counteroffers (.1); participate in conference re plan
                        issues with J. Bair (.1);
2/9/2023 Brenda Horn Draft BB's third interim fee application (2.3);                2.40    $864.00
                        correspond with J. Bair re same (.1);
2/9/2023 Jesse Bair     Provide instructions to B. Horn re preparing BB's third     0.10     $62.50
                        interim fee application (.1);
2/9/2023 Jesse Bair     Review correspondence from I. Scharf re additional          0.10     $62.50
                        individuals proposed by the Debtor as potential
                        stipulated judgment mediators (.1);
2/10/2023 Jesse Bair    Review and edit draft joint Plan received from the          6.40   $4,000.00
                        Diocese (6.2); participate in conference with T. Burns re
                        draft Plan (.2);
2/10/2023 Jesse Bair    Review correspondence from state court counsel re           0.10     $62.50
                        additional potential stipulated judgment mediator
                        candidates (.1);
2/10/2023 Timothy Burns Meet with J. Bair re draft plan (.2);                       0.20    $140.00
2/11/2023 Timothy Burns Review correspondence between state court counsel           0.10     $70.00
                        and committee professionals re stipulated judgment
                        mediator selection (.1);
2/13/2023 Timothy Burns Review and revise draft plan (.8);                          0.80    $560.00
2/13/2023 Jesse Bair    Participate in state court counsel meeting re stipulated    0.60    $375.00
                        judgment and Plan issues (.6);
2/14/2023 Timothy Burns Participate in call with J. Bair re outcome of recent       0.10     $70.00
                        state court counsel meeting (.1);
2/14/2023 Jesse Bair    Conference with T. Burns re outcome of recent state         0.10     $62.50
                        court counsel meeting (.1);
2/15/2023 Jesse Bair    Review I. Scharf correspondence re case update (.1);        0.10     $62.50
2/15/2023 Timothy Burns Review recent appellate decision re insurance               0.20    $140.00
                        neutrality of plan (.2);
2/16/2023 Jesse Bair    Review correspondence with state court counsel re           0.10     $62.50
                        recent settlement in another Diocesan bankruptcy case
                        (.1);
2/20/2023 Jesse Bair    Review correspondence with I. Scharf and state court        0.10     $62.50
                        counsel re case update (.1);
2/21/2023 Leakhena Au Participate in conference with N. Kuenzi re research          0.20     $84.00
                        status re potential direct claims against the Diocese's
                        insurers (.2);
2/21/2023 Nathan Kuenzi Participate in conference with L. Au re research status     0.20     $84.00
                        re potential direct claims against the Diocese's insurers
                        (.2);
2/21/2023 Timothy Burns Brief review of insurer's discovery motions to state        0.40    $280.00
                        court counsel (.3); meet with J. Bair re same (.1);
2/21/2023 Jesse Bair    Review CNA's Rule 2004 motion to compel litigation          0.30    $187.50
                        financing agreements (.3);
2/21/2023 Jesse Bair    Review CNA's motion to compel Rule 2019 disclosures         0.40    $250.00
                        (.4);
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2/21/2023 Jesse Bair      Participate in conference with T. Burns re CNA's recent      0.10       $62.50
                          motions to compel (.1);
2/22/2023 Jesse Bair      Review I. Scharf correspondence with state court             0.10       $62.50
                          counsel re CNA's recent motions to compel (.1);
2/22/2023 Jesse Bair      Review the Debtor's letter to the court further adjourning   0.10       $62.50
                          its claims objections (.1);
2/23/2023 Timothy Burns   Review email from state court counsel re 2004 Request        1.50     $1,050.00
                          and 2019 motion (.1); review claims objection
                          adjournment letter brief (.1); review email from I. Scharf
                          re 2004 and 2019 papers (.1); detailed review of
                          CNA's recent discovery motions (1.2);
2/23/2023 Jesse Bair      Review CNA notice of adjournment of recently filed           0.10       $62.50
                          motions to compel (.1);
2/23/2023 Jesse Bair      Review correspondence re further adjournment of              0.10       $62.50
                          Diocese claims objections (.1);
2/24/2023 Timothy Burns   Additional analysis re CNA's discovery motions (.1);         0.10       $70.00
2/24/2023 Leakhena Au     Continue analysis re potential direct claims against the     0.10       $42.00
                          Diocese's insurers (.1);
2/25/2023 Timothy Burns   Correspondence with J. Bair re Plan draft status (.1);       0.10       $70.00
2/25/2023 Jesse Bair      Correspondence with T. Burns re status of Rochester          0.10       $62.50
                          Plan (.1);
2/27/2023 Jesse Bair      Review correspondence from I. Scharf re Plan and             0.10       $62.50
                          litigation update (.1);
2/28/2023 Timothy Burns   Analyze case law re good faith requirement and TDPs          3.70     $2,590.00
                          re Plan analysis for insurance purposes (3.5); reviewed
                          and responded to email from I. Scharf re Committee
                          meeting re plan and insurance issues (.1);
                          correspondence with J. Bair re same (.1);
2/28/2023 Jesse Bair      Review agenda for upcoming Committee meeting (.1);           0.20      $125.00
                          correspondence with T. Burns re insurance issues in
                          connection with same (.1);
Total Hours and Fees                                                                   31.80   $18,655.50

                                             EXPENSES


Date                      Description                                                            Amount
2/1/2023                  Postage                                                                  $7.74
2/6/2023                  CloudNine, database monthly hosting fee (January                        $47.13
                          2023)
2/23/2023                 Postage                                                                   $4.35
Total Expenses                                                                                    $59.22


                                       Timekeeper Summary
Name                                           Hours                     Rate                    Amount
Alyssa Turgeon                                    3.10               $360.00                    $1,116.00
Brenda Horn                                       2.40               $360.00                     $864.00
Brian Cawley                                      0.10               $420.00                      $42.00
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Name                                  Hours              Rate                Amount
Jesse Bair                             12.30          $625.00               $7,687.50
Leakhena Au                             0.80          $420.00                 $336.00
Nathan Kuenzi                           2.00          $420.00                 $840.00
Timothy Burns                          11.10          $700.00               $7,770.00



                                                    Total Due This Invoice: $18,714.72




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